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               IN THE UNITED STATES DISTRICT COURT FOR THE

                          DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,     )
                              )
               Plaintiff,     )                      8:09CR287
                              )
          v.                  )
                              )
YER YANG,                     )                      ORDER
                              )
               Defendant.     )
______________________________)


          This matter is before the Court on defendant’s motion

for leave to subpoena necessary witnesses in forma pauperis

(Filing No. 73).    The Court will grant the motion.            Accordingly,

          IT IS ORDERED that defendant’s motion is granted.                The

Clerk of the Court shall issue subpoenas for:

                Lia Yang
                7367 21st Street
                Sacramento, California,

and
                True Lor
                2681 Sairfield Street, # 6
                Sacramento, California,

and the United States Marshal shall arrange for service of said

subpoenas and shall provide airline transportation for the

witnesses to appear for trial on:

                Monday, June 28, 2010, at 10 a.m.
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in Courtroom No. 5, Roman L. Hruska United States Courthouse, 111

South 18th Plaza, Omaha, Nebraska, or as soon thereafter as they

may be called by the Court.

          DATED this 21st day of May, 2010.

                                   BY THE COURT:

                                   /s/ Lyle E. Strom
                                   ___________________________
                                   LYLE E. STROM, Senior Judge
                                   United States District Court




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